Case 8:20-cv-00623-AB-MAA Document 85 Filed 07/20/21 Page 1 of 3 Page ID #:1183
Case 8:20-cv-00623-AB-MAA Document 85 Filed 07/20/21 Page 2 of 3 Page ID #:1184
Case 8:20-cv-00623-AB-MAA Document 85 Filed 07/20/21 Page 3 of 3 Page ID #:1185




                              CERTIFICATE OF SERVICE

          I hereby certify that on July 20, 2021, I electronically filed the foregoing with
    the Clerk of the Court using the CM/ECF System, which will send notification of
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                                       Certificate of Service
